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                          UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS

IN RE: EpiPen (Epinephrine Injection, USP)            CASE NO. 2:17-MD-02785-DDC-TJJ
Marketing, Sales Practices and Antitrust Litigation   (MDL No. 2785)




SANOFI-AVENTIS U.S., LLC,                             CASE NO. 2:17-CV-02452-DDC-TJJ
                      Plaintiff,

               v.

MYLAN INC., et al.,

                      Defendants.

This Document Relates to the Sanofi case.


      INDEX OF EXHIBITS TO MYLAN’S MOTION FOR SUMMARY JUDGMENT

Ex.     Description
1       Redacted Excerpts of Joseph Anderson (CVS) Deposition Transcript
3       Redacted Excerpts of Patrick Barry (Sanofi) Deposition Transcript
4       Excerpts of Patrick Barry (Sanofi) 30(b)(6) Deposition Transcript
5       Excerpts of James Borneman (Sanofi) Deposition Transcript
6       Excerpts of Heather Bresch (Mylan) Deposition Transcript
7       Excerpts of Michael Brodeur (Aetna) Deposition Transcript
9       Redacted Excerpts of Patrick Byrne (Payer Sciences) Deposition Transcript
10      Redacted Excerpts of Louanne Cunico (Presbyterian Health) Deposition Transcript
11      Excerpts of Joseph Denney (Sanofi) Deposition Transcript
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15      Redacted Excerpts of Roger Graham (Mylan) 30(b)(6) Deposition Transcript
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20      Excerpts of Saira Jan (Horizon) Deposition Transcript
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22      Redacted Excerpts of Deborah Kronberg (Cigna) Deposition Transcript
23      Redacted Excerpts of Sandy Loreaux (Sanofi) Deposition Transcript
24      Redacted Excerpts of Barbara Minton (Anthem) Deposition Transcript
25      Redacted Excerpts of Kent David Rogers (OptumRx) Deposition Transcript
26      Redacted Excerpts of Fiona M. Scott Morton (Sanofi Expert) Deposition Transcript
27      Redacted Excerpts of Macy Shia (Kaiser) Deposition Transcript
29      Redacted Excerpts of Harry Vargo (Aetna) Deposition Transcript
30      Redacted Excerpts of Christopher Viehbacher (Sanofi) Deposition Transcript
31      Redacted Excerpts of Anne Whitaker (Sanofi) Deposition Transcript
32      Redacted Excerpts of Jeffrey White (Anthem) Deposition Transcript
42      Bloomberg, Sanofi Introduces Auvi-Q Amid Plan to Grow in Devices (Jan. 28, 2013)
        Fiona M. Scott Morton, Hutchins Center Working Paper #30, Enabling Competition in
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        Fiona M. Scott Morton Congressional Testimony, Prescription Drug Pricing and
46      Negotiation: Overview and Economic Perspectives for the Medicare Prescription Drug
        Benefit: Hearing Before the S. Comm. On Fin., 110th Cong. 13 (2007)
47      Redacted 9/9/13 Email from P. Byrne (with attachment)
        Fiona M. Scott Morton, An Orientation to the Acquisition of and Reimbursement for
48
        Prescription Drugs (Dec. 3, 2004)
49      In re Insulin Pricing Litigation, ECF No. 109-1, No. 17-cv-699 (D.N.J.) (Mar. 9, 2018)
50      Sanofi, Prescription Medicine Pricing, Our Principles and Perspectives
52      Redacted 1/21/13 Email from J. Deaver
53      3/17/13 Email from K. Rhodus (with attachments)
54      11/16/12 Email from J. Cichowski (with attachment)
        U.S. v. CVS Health Corp., et al., ECF No. 118, No. 18-cv-02340-RJL (D.D.C.) (June 20,
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        2019)
71      10/20/15 Email from P. Byrne (with attachment)
73      A Conversation With Steve Miller, MD: Come in and Talk With Us, Pharma (Apr. 5, 2015)
75      Sanofi History of EAI WAC Prices, Undated



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89      Redacted Kaiser Permanente, Drug Monograph, Auvi-Q First Review, Dated 5/13/13
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233     Redacted 6/16/14 Email from M. Downing (with attachment)
235     MedImpact Choice Formulary, Dated January 2012
236     Redacted 9/25/15 Email from S. Loreaux
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238     FDA Report, Dated 10/16/15
249     Comparison of Dr. Scott Morton’s Original and Revised Damages Calculations, Undated
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 7, 2019, the foregoing document was electronically filed

with the Clerk of the Court using the CM/ECF system, which provides a notice of such filing on

each attorney registered for ECF notification to the counsel of record in this case.


                                                     /s/ Philip A. Sechler
                                                     Philip A. Sechler

                                                     ROBBINS, RUSSELL, ENGLERT, ORSECK,
                                                     UNTEREINER & SAUBER LLP
                                                     2000 K Street, NW, 4th Floor
                                                     Washington, DC 20006
                                                     Telephone: (202) 775 4492
                                                     Fax: (202) 775 4510
                                                     psechler@robbinsrussell.com

                                                     Counsel for Defendant Mylan Inc. and
                                                     Defendant/Counterclaim-Plaintiff Mylan
                                                     Specialty L.P.




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